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                  IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE DISTRICT OF DELAWARE

In re:                                    ) Chapter 11
                                          )
WOODBRIDGE GROUP OF COMPANIES,            ) Case No. 17-12560-(KJC)
             1
LLC, et al.,                              )
                                          ) Jointly Administered
                                          )
                                          ) Hearing Date: Oct. 24, 2018 at 10:00 a.m. (ET)
                  Debtors.                ) Obj. Deadline: Oct. 11, 2018 at 4:00 p.m. (ET)
                                          )
__________________________________________) Re Docket No. 2397

                     OBJECTION TO CONFIRMATION OF DEBTORS’
                FIRST AMENDED JOINT CHAPTER PLAN OF LIQUIDATION

         Lise La Rochelle et al. and other objecting parties who are clients of the Sarachek Law

Firm2 (the “Dissenting Creditors”), by and through their undersigned counsel, hereby object to

the Debtors’ First Amended Joint Chapter 11 Plan of Liquidation Of Woodbridge Group of

Companies, LLC and Its Affiliated Debtors [D.I. 2397] (the “Plan”). In support of their objection,

the Dissenting Creditors state as follows:


      THE PLAN DOES NOT PROVIDE A PAYMENT MECHANISM SHOULD THE
           SECURED NOTEHOLDERS PREVAIL IN THEIR LITIGATION

         1. The majority of the Dissenting Creditors are individuals who are over 65 years old

that invested money in various of the Debtors’ real properties because in exchange for their

investment they were provided with a note and assignment of an interest in a mortgage that was

secured by liens in those properties.


1
  The last four digits of Woodbridge Group of Companies, LLC’s federal tax identification number are 3603. The
mailing address for Woodbridge Group of Companies, LLC is 14225 Ventura Boulevard #100, Sherman Oaks
California 91423. The complete list of Debtors, the last four digits of their federal tax identification numbers, and
their addresses are not provided herein. A complete list of such information may be obtained on the website of the
noticing and claims agent at www.gardencitygroup.com/cases/wgc.
2
  All of the Objecting parties are fully listed in the 2019 Statement filed The Sarachek Law Firm on August 21, 2018
[Docket No. 2385]


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        2. At a hearing on February 13, 2018, in response to an objection to the Motion For

Interim and Final Post-Petition Secured Financing filed by The Sarachek Law Firm, the

Bankruptcy Court stated that in order to determine the validity and priority of a security interest

in real property, it would be necessary for the parties to initiate an adversary proceeding. As the

Debtors and Creditors’ Committees did not want to address this issue, the Dissenting Creditors

filed a “test” case on March 27, 2018 seeking declaratory relief that certain noteholders (the

“Plaintiffs”), had a perfected security interest in a property of the Debtor known as Owlwood

[D.I. 840, Case No. 18-50371] (the “Adversary Proceeding”). The Debtors filed a motion to

dismiss the Adversary Proceeding on June 18, 2018 [D.I. 7]. After reviewing the motion to

dismiss, the Plaintiffs realized that if the Debtors were correct that they had committed fraud,

Plaintiffs over 65 were entitled to treble damages under the California Elder Abuse statute.

Accordingly, Plaintiffs filed a First Amended Complaint on July 17, 2018 to add an additional

count against the Debtors estates stating that the Debtors actions, if fraudulent, violated the

California Elder Abuse Act which governs individuals over 65 years of age [D.I. 12]. Debtors

filed a motion to dismiss on August 14, 2018 [D.I. 15] to which the Plaintiff’s responded on

September 4, 2018 [D.I. 21]. A hearing was held on the Motion to Dismiss on September 25,

2018 before the Bankruptcy Court.

        3. On October 4, 2018, an additional adversary proceeding was filed asserting claims of

elder abuse on behalf of the additional Dissenting Creditors who were over 65 years of age [D.I.

2739, Case No. 18-50880].

        4. The Bankruptcy Court issued an opinion and Order on October 5, 2018 granting the

Debtors’ motion to dismiss, among others, the claims asserting that the Plaintiffs hold perfected

security interests in the Owlwood property [D.I. 26, 27].



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        5. On October 9, 2018, the Plaintiffs filed their Notice of Appeal of the Court’s ruling

[D.I. 28].


                                        SUMMARY OF ARGUMENT


        6. The Debtors’ plan must not be confirmed because it denies secured creditors their

right to be paid 100% on real property in which they have an interest in the proceeds. Most

troubling is that the Plan provides for substantive consolidation of all of the Debtors, however,

this essential ingredient of the Plan requires proof, and to date, there has been no evidence

provided to creditors that the corporate entities of over 306 companies should be disregarded.

The Debtors scream “Ponzi, ponzi, ponzi,” but have not released a detailed record of this fact.

Unlike Bernard Madoff who is in Federal prison, the Debtors’ former CEO Robert Shapiro has

not even been charged with a crime. Until this Court has received clear and convincing evidence

that the Debtors’ should be substantively consolidated, it violates the provisions of the

Bankruptcy Code to “assume” substantive consolidation is the appropriate remedy. If

substantive consolidation is not the appropriate remedy, then the Plan is defective because each

of the 306 Debtor’s creditors are entitled to vote as a separate class, and exercise their remedies

with respect to that Debtor’s assets.


THE PLAN SEEKS TO EXTINGUISH THE SECURED NOTHEHOLDERS’ SECURED
           CLAIMS THROUGH SUBSTANTIVE CONSOLIDATION

        7. The Debtors have continuously alleged that the Woodbridge Group cases were a

massive Ponzi scheme starting in 2012. This is the core assumption in the Plan. Based on this

assumption, the Debtors have reduced each investor’s allowed claim to the actual amount of

dollars invested. In other words, if a noteholder invested $100,000 in 2014 and received $20,000



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over the course of three years, using the Debtor’s calculations that investor has a claim of

$80,000. Although there have been a multitude of assertions by the Debtors as well as the

various committees of a Ponzi scheme; there is no proof in the record. No forensic investigation

has been conducted, and no testimony has been submitted by accountants, no examiners report

has been submitted into the record, and no principal has been charged by authorities. Why hasn’t

the Department of Justice or the Attorney General’s Office of California charged Robert Shapiro

with fraud?

        8. The Dissenting Creditors have raised this issue continuously but received no response

other than mere references by the Unitholders Committee to an SEC investigation. However, in

one of the most renown Ponzi scheme cases of recent times, In re Bernard L. Madoff, the

principal, Bernard Madoff admitted to a Ponzi scheme and was convicted. In that case, there

was clear and convincing evidence. It boggles the mind that neither the Debtors nor the

Committees have taken the opportunity to provide the evidence.

        9. Further, if in fact this was a Ponzi scheme, there is absolutely no justification for

distinguishing between noteholders and unitholders as provided by the plan. In a true Ponzi

scheme case, all creditors should receive the same consideration; noteholders and unitholders.

        10. Mere allegations that an investment is actually a Ponzi scheme are insufficient. For

example, in American Cancer Society v. Cook, 2012 U.S. App. LEXIS 5769 (5th Cir. 2012), the

United States Court of Appeals for the Fifth Circuit reversed a fraudulent transfer judgment

because a court appointed receiver had failed to prove the actual evidence of a Ponzi scheme,

thus depriving her of the presumption of fraud in a fraudulent transfer claim.

        11. This concept of proving a Ponzi scheme is crucial because the Debtors are asking the

Court to approve a plan that seeks to extinguish all inter-company liens through substantive



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consolidation primarily based on the idea that this was a Ponzi scheme. It is not something that

the Court should take lightly. There are 9000 investors in Woodbridge and they have the right to

know exactly what transpired with respect to their investments.


             VALID LIENS CANNOT BE EXTINGUISHED THROUGH A PLAN


        12. As part of the Plan, the Debtors seek to extinguish the valid, existing liens between

various debtor entities. Bankruptcy law has a well-established precedent for how to consolidate

the assets and liabilities of related Debtors – substantive consolidation. The Plan specifically

addresses that the parties will seek to substantively consolidate the various entities into two

vehicles, one for the funds and one for the property companies.

        13. The first issue this Court needs to address is can a plan avoid liens. The answer, at

least in chapter 13 cases, is unequivocally “no.” The strongest case on point is from the Third

Circuit, SLW Capital, LLC v. Mansaray-Ruffin (In re Mansaray-Ruffin), 530 F.3d 230 (3d Cir.

2008). In that case, Judge Rendell uses very strong language condemning lien avoidance

through a plan rather than through an adversary proceeding, as required by Bankruptcy Rule

7001(2). She cites the other circuits that have taken the same position. There is no reason the

same principles should not apply in chapter 11. There is caselaw that indicates substantive

consolidation may not upset a lien. In re Gulfco Inv. Corp., 593 F.2d 921 (10th Cir. 1979); In re

I.R.C.C., Inc., 105 B.R. 237 (Bankr. S.D.N.Y. 1989). The facts of the Gulfco cases are similar to

the cases at hand. Gulfco involved real estate debtors where the trial court determined that

“accounting difficulties in evaluating the intercompany accounts and determining the assets and

liabilities of each of the corporations…outweighed any individual equitable problems that might

be present.” Gulfco at 4. However, the 10th Circuit recognized that “consolidation is not to be



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used to defeat the security of secured creditors or to reduce a secured creditor to the status of an

unsecured creditor.” Gulfco at 61. All the Dissenting Creditors respectfully request that the

Court recognize this principle.

        14. The second problem with the Plan is a question of what acceptances the Debtors need

under Section 1129(a)(10) to confirm a plan that covers multiple debtors. The simple answer:

acceptances from each class of creditors of each of the 306 Debtors.

        15. Section 1129(a)(10) of the Bankruptcy Code states: “If a class of claims is impaired

under the plan, at least one class of claims that is impaired under the plan has accepted the plan,

determined without including any acceptance of the plan by any insider.” In this case, it is

necessary to look at each Debtor separately, prior to substantive consolidation. As there are 306

Debtors, the creditors of each Debtor must be viewed uniquely. As with all bankruptcy cases

involving multiple Debtors, it is necessary to review the facts and circumstances of each debtor.

The earlier debtors may be totally free from problems while the later debtors may be plagued

with them.


SECTION 1129(A)(10)’S SINGLE IMPAIRED CLASS ACCEPTANCE REQUIREMENT
               APPLIES TO EACH DEBTOR IN A JOINT PLAN

        16. In In re Tribune, the 111 jointly administered debtors proposed a single joint chapter

11 plan. The plan did not provide for substantive consolidation of the debtors, so the plan was

deemed to be a separate plan for each of them. Every impaired class for which an acceptance or

rejection was submitted accepted the plan, though for some of the debtors, there were no

acceptances or rejections from any impaired class. Section 1129(a)(10) requires, as a condition to

confirmation, that a plan be accepted by at least one impaired class of claims. Under section

102(7), “the singular includes the plural”, so the reference in section 1129(a)(10) to “a plan”



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should not be read to apply on a “per plan”, rather than a per debtor, basis, and entity

separateness is fundamental. Section 1129’s other confirmation conditions also speak in the

singular, yet provisions such as subsection (a)(3)’s good faith test and subsection (a)(7)’s best

interest test apply per debtor. Read consistently with those paragraphs, subsection (a)(10) should

apply per debtor. Finally, joint administration, which has the effect of permitting a joint plan,

should not have any substantive effect. Applying section 1129(a)(10)’s acceptance requirement

on a per plan basis would have such an effect. Therefore, it applies on a per debtor basis. The

court noted that, with proper notice in the disclosure statement or voting instructions, a non-

voting class might appropriately be treated as an accepting class. In re Tribune Co., 464 B.R.

126 (Bankr. D. Del. 2011).

        17. The question in these cases is can you assume substantive consolidation when

soliciting votes for a plan? At least one court has said “no.” Where a plan proposes substantive

consolidation of more than one debtor, confirmation requires the affirmative vote of each class of

creditors, counted before consolidation. In re Central European Industrial Dev. Co. LLC, 288

B.R. 572 (Bankr. N.D. Cal. 2003). That is the exact case here, with the 306 Woodbridge Group

of debtors.


            THE SUBSTANTIVE CONSOLIDATION SETTLEMENT AGREEMENT
                       VIOLATES THE BANKRUPTCY CODE

        18. Another seminal question presented by the Plan is do settlement agreements

incorporated into a plan that requires substantive consolidation violate any of the Bankruptcy

Code’s requirements? At least one District Court in Delaware has concluded that it does. In In

re New Century TS Holdings, Inc., the related debtors had numerous intercompany claims, and

many creditors’ claims could be asserted against more than one debtor. The plan compromised



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both of these issues, among others, by allowing multi-debtor claims at 130% of face amount

against the parent debtor, disallowing the claims against the other debtors and providing for

distribution of the aggregate assets of the debtors among all claims against them, pro rata, based

on the allowed amounts of the claims. Each creditor class voted separately, and all but one

accepted the plan. The District Court, however, noted that substantive consolidation combines

the assets and liabilities of separate entities and distributes the combined assets among creditors

of all the consolidated entities. “It is an equitable remedy to address harms a debtor has caused

by disregarding separateness or entangling its affairs. It should be used sparingly. Although the

aggregation here was a result of a compromise settlement and did not erase intercompany claims,

it had the same adverse effect on some creditors as an ordinary consolidation and therefore

effects a substantive consolidation without the requisite showing of need. Section 1123(a)(4)

requires that each claim in a class receive the same treatment, except to the extent the holder of a

claim elects less favorable treatment. The 130% settlement provides more advantageous

treatment to the multi-debtor creditors within an accepting class and less favorable treatment to

the creditors in the nonaccepting class. Thus, the plan violates section 1123(a)(4).” Schroeder v.

New Century Liquidating Trust (In re New Century TS Holdings, Inc., 407 B.R. 576 (D. Del.

2009). Lise La Rochelle invested in Owlwood. She would not have invested in the corner gas

station. By substantively consolidating, the Plan is denying her the benefits of her choice.


        19.        All of this discussion leads to the question of whether this Court should approve

substantive consolidation in the Plan of these Debtors. In the seminal case in this circuit denying

substantive consolidation, the Third Circuit Court of Appeals in In Re: Owens Corning 419 F.3d




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195 (3d Cir. 2005), established five principles of substantive consolidation.3 Of particular

relevance to this case is the fifth principle that holds substantive consolidation “...may not be

used offensively (for example, having a primary purpose to disadvantage tactically a group of

creditors in the plan process or to alter creditor rights.)” In Re: Owens Corning, supra, at 211.

          20. Applying these principles, the Third Circuit established a test that substantive

consolidation is a viable option if it can “be proven (absent consent) that the entities for whom

substantive consolidation is sought that (i) pre-petition they disregarded separateness so

significantly their creditors relied on the breakdown of entity borders and treated them as one

legal entity... or (ii) post-petition their assets and liabilities are so scrambled that separating them

is prohibitive and hurts all creditors. This rationale is meant to protect in bankruptcy the

prepetition expectations of those creditors.” In Re: Owens Corning, supra, at fn.19.

          21. The Debtors cannot meet the Third Circuit’s test for substantive consolidation. First,

part one of the test cannot be met because the Dissenting Creditors prepetition relied on the

separateness of the Debtor entities. Dissenting Creditors invested in a specific fund for the

purpose of investing in a specific third-party property. The fact is that not all creditors in this

case took the same risk. Some opted to invest in Owlwood, others opted to invest in Electra




3 “(1) Limiting the cross-creep of liability by respecting entity separateness is a ‘fundamental ground rule[]...’ As a
result, the general expectation of state law and of the Bankruptcy Code, and thus of commercial markets, is that
courts respect entity separateness absent compelling circumstances calling equity (and even then, only possibly
substantive consolidation) into play. (2) The harms substantive consolidation addresses are nearly always those
caused by debtors (and entities they control) who disregard separateness... Harms caused by creditors typically are
remedied by provisions found in the Bankruptcy Code....(3) Mere benefit to the administration of the case (for
example, allowing a court to simplify a case by avoiding other issues or to make post petition accounting more
convenient) is hardly a harm calling substantive consolidation into play. (4) Indeed, because substantive
consolidation is extreme (it may affect profoundly creditors’ rights and recoveries) and imprecise, this “rough
justice” remedy should be rare and, in any event, one of last resort after considering and rejecting other remedies
(for example, the possibility of more precise remedies conferred by the Bankruptcy Code). (5) While substantive
consolidation may be used defensively to remedy the identifiable harms caused by entangled affairs, it may not be
used offensively (for example, having a primary purpose to disadvantage tactically a group of creditors in the plan
process or to alter creditor rights).” In Re: Owens Corning, supra, at 211.

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Court, others chose constructions loans or units. Notwithstanding that the SEC maintains that all

of the Debtors’ offerings were securities, the Debtors themselves distinguished between

noteholders and unitholders. Sales to unitholders were treated as sales of securities and had a

five year lockup. The point is that all creditors should not be looped together in the same pot.

        22. Second, part two of the test cannot be met because separating the Debtor entities does

not hurt all creditors. In fact, approximately 75% of the aggregate claim value in this bankruptcy

case is held by noteholders. If the Dissenting Creditors can establish that they have perfected

security interests, their outcome is not improved with substantive consolidation.

        23. Finally, one of the most absurd features of the Plan is that it treats noteholders and

unitholders in a disparate manner. If the Court accepts this disparate treatment, it must rule

against substantive consolidation. If the Court rules in favor of substantive consolidation, all

creditors must be treated equally.

        24. For the above reasons, the Dissenting Creditors object to confirmation of the Plan.

Dated: October 11, 2018                        THE ROSNER LAW GROUP LLC
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